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EXHIBIT 5
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UNITED STATES OF AMERICA
BEFORE THE CONSUMER FINANCIAL PROTECTION BUREAU

In the Matter of:

CIVIL INVESTIGATIVE DEMAND FOR
The Sands Law Group, LLP PRODUCTION OF DOCUMENTS AND
(dba Whitestone Legal Group) ANSWERS TO INTERROGATORIES

RESPONSE TO CIVIL INVESTIGATIVE DEMAND

The Sands Law Group, LLP, dba Whitestone Legal Group (“Respondent”), which 1s
represented by the undersigned law firm, responds to Interrogatory Nos. 1-11 and Request for
Documents Nos. 1-5, promulgated by the Consumer Financial Protection Bureau (the “Bureau’”’)
in its March 11, 2020 Civil Investigative Demand (“CID”) to Respondent, as follows:

INTERROGATORY RESPONSES
1. List and describe Each step that a consumer must take to enroll in the Debt
Relief Services that You offer, sell, or provide, including Each step that must
occur during any in-bound telephone call, out-bound telephone call, and face-
to-face sales presentation.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief
services” it does so in the context of providing legal services to its clients. A prospective client
initially speaks to a representative of Whitestone Client Services, LLC (*WCS”), an unaffiliated
company that is contracted with Respondent to provide administrative and support services. That
representative will explain the gencral parameters of Respondent’s debt settlement-related legal
services, and will, if the prospective client 1s interested, obtain the prospective client’s financial
information to make an initial assessment of whether the prospective client fits within parameters

established by Respondent. If that is the case, the representative reviews with the prospective

client a script approved by Respondent that describes various aspects of Respondents’ debt

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settlement representation. Respondent is producing a copy of its scripts for this call (and other
calls). After this call, the prospective client is asked to participate in a follow-up telephone call,
without the representative participating, where the prospective client is asked to respond to a series
of questions confirming that certain process steps, questions and explanations were provided by
the representative. In 2019, this call was converted to an automated format where the prospective
client receives and responds to the questions via an IVR system.

If the prospective client wishes to proceed, WCS will schedule a face-to-face sales
presentation with the prospective client. That presentation 1s typically scheduled to occur at the
prospective client’s residence, or at a nearby location. WCS, on behalf of Respondent, will
typically contact a national mobile-notary provider (Respondent has contracts with several) who
will find a state-licensed notary who can attend the face-to-face sales presentation. The state-
licensed notary 1s paid a flat fee for attending the presentation and his/her compensation is not
based upon the prospective client’s decision to purchase Respondent’s services or the receipt of
an executed agreement from the prospective client.

Respondent has provided the national mobile-notary providers with training materials, and
the provider is instructed that no notary is permitted to participate in a presentation for Respondent
unless and until the notary receives and reviews the training materials, and also takes (and passes)
an online test, which is available at:

https://drive.google.com/open?id=1 9xn VoWMim2GJhTcOIkR757bnbad6NRP

[CONFIDENTIAL]; and

https://drive.google.com/open?id=1m4eHhelX 7JPPSj]OGaqwDzBR56xU_ Kxmpl

[CONFIDENTIAL].

The notary provider company is also provided with a complete copy of Respondent’s

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retention agreement and enrollment materials, a copy of a separate agreement between the client
and Reliant Account Management (“RAM”), a script that outlines the terms and conditions of
Respondent’s practice, as well as a printed PowerPoint presentation to show the prospective client.
The provider is instructed to ensure that the notary has those materials and brings them to the
presentation. The notary is also provided with an unsigned copy of Respondent’s client retention
agreement. During the face-to-face sales presentation, the notary is required to read from the
script, to review the PowerPoint presentation with the prospective client (who initials each
page/slide of the printed presentation), and also to review the retention agreement, enrollment
materials, cancellation notice, and RAM agreement with the prospective client.

The notary is also trained and instructed that if the client has a question that goes beyond
the notary’s training or scripted materials, the notary must contact WCS, which will either answer
the question, or, if the question involves a legal issue, WCS will forward the question to one of
Respondent’s attorneys to answer (please see also Respondent’s responses to Interrogatory Nos.
7-8). At the conclusion of the face-to-face presentation, the notary 1s required to complete an
affidavit attesting that he or she followed the appropriate procedures, and the prospective client 1s
required to witness the notary’s attestation.

Following the face-to-face sales presentation, the prospective client is contacted by one of
Respondent’s attorneys via telephone to confirm that the face-to-face sales presentation occurred,
to respond to any questions the prospective client may have, to reiterate the salient points covered
during the face-to-face sales presentation, and to assess the prospective client’s suitability for debt
settlement representation. At the conclusion of that telephone conference between attorney and
prospective client, the prospective client is considered to be “approved” by the firm, but still does

not become a client of Respondent unless and until he or she makes the first portion of his or her

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retainer payment into his or her dedicated account. Respondent also refers the Bureau to the
documents produced in response to this CID and to its response to Interrogatory No. 5.

2. Describe the manner in which in-bound telephone calls are used in the
marketing and sale of the Debt Relief Services that You offer, sell, or provide.

RESPONSE: Respondent ts a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. When a prospective client chooses
to contact Respondent via in-bound telephone call, Respondent accepts such in-bound telephone
call and commences the process set forth mn response to Interrogatory No. |.

3. Describe the manner in which out-bound telephone calls are used in the
marketing and sale of the Debt Relief Services that You offer, sell, or provide.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. When Respondent receives a
lead about a person who has expressed interest in its services, a representative of WCS will place
an out-bound telephone call to such prospective client to confirm that that he or she is indeed
interested in learning more about Respondent’s services. If the prospective client confirms his/her
interest, that will trigger the process set forth in response to Interrogatory No. 1.

4. Describe Your use of face-to-face sales presentations with consumers in the
offering or sale of the Debt Relief Services that You offer, sell, or provide.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. Face-to-face presentations are
made to all prospective clients and are one of several methods for providing information about
Respondent’s services to prospective clients (including the various calls, retention documents, and
other information set forth in response to Interrogatory No. | and set forth in documents produced
by Respondent). During face-to-face sales presentations (as set forth in response to Interrogatory

No. | and in the various materials produced in response to this CID), the notary provides the

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prospective client with a complete copy of Respondent’s retainer agreement and, working from a
presentation script created by Respondent, the notary: (1) presents information regarding
Respondent’s services using a printed copy of the PowerPoint slides; and (2) reviews the various
sections and components of the client retainer agreement. More specifically, during the course of
a face-to-face sales presentation, the prospective client and notary cover the following subjects:

* The fact that debt resolution alters the terms of payment of unsecured debt and will
likely have a negative effect on the prospective client’s credit, and that Respondent’s
services do not include credit repair.

* That Respondent’s services may result in the prospective client being subject to
collections or sued by creditors or debt collectors and may increase the amount of
money he or she owes to unsecured creditors due to the accrual of fees and interest.

e The scope of Respondent's legal representation of the prospective client, and the fact
that such scope is specifically limited to the following services: (a) a determination of
which specific debt resolution option is most appropriate for the client, including an
initial review of his or her budget, income and debt: (b) negotiations and attempted
negotiations of settlements with the prospective client’s creditors in an effort to modify
or restructure his or her current unsecured debt, after a more thorough review of the
current unsecured debt burden; and (c) the provision of litigation defense to the
prospective client as outlined in the Client Retainer Agreement.

« The total fees and costs associated with Respondent’s representation of the prospective
client.

® Respondent’s performance guarantee.

e That the client will establish an account with Reliant Account Management (as
described in the PowerPoint slide presentation, script, retainer agreement and
enrollment documents), that the client owns and controls the dedicated account, that
Respondent has no authority to exercise control over funds in that account, and that the
client may withdraw from Respondent’s representation at any time without penalty and
receive all funds in the account other than those previously used for creditor settlements
and any fees previously earned by Respondent under the terms of the client agreement.

* The fact that the representative who conducts the initial sales presentation with the
consumer (i.e., the face-to-face presentation) limits their involvement to that initial
presentation and review of the prospective client’s file and that an attorney from
Respondent will be working on the prospective client’s file if representation proceeds.

If, after receiving all the information and materials provided during the face-to-face presentation,
the prospective client chooses to engage Respondent, the prospective client fills out, completes,

and executes the client retainer agreement at the conclusion of the sales presentation.

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5. Identify all Persons who conducted face-to-face sales presentations with
consumers who enrolled in the Debt Relief Services that You offer, sell, or
provide. For Each Person You Identify, also provide the Person’s employer at
the time of the face-to-face sales presentation, the Person’s job position at that
time, and the number of face-to-face sales presentations the Person has
conducted.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “‘debt relief services”
it does so in the context of providing legal services to its clients. Respondent is producing a list
of persons who have conducted face-to-face presentations. That list is attached hereto as Exhibit
ls

6. Describe all training You provide to any Person who conducts face-to-face sales
presentations with consumers in the offering or sale of the Debt Relief Services
that You offer, sell, or provide.

RESPONSE: Respondent 1s a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. Respondent respectfully refers
the Bureau to its response to Interrogatory No. 1, and further refers the Bureau to the training
materials produced in response to the Bureau’s document requests.

7. Describe the authority that Persons conducting face-to-face sales presentations
have to answer a consumer’s questions regarding the Debt Relief Services that
You offer, sell, or provide.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. The notaries who conduct the
face-to-face sales presentations with prospective clients (as set forth in response to Interrogatory
No. 1) have the authority to answer questions to the extent the answer to such question either 1s
expressly provided in the face-to-face presentation script, training materials, or face-to-face

presentation PowerPoint slides, or merely involves a scrivener matter with respect to Respondent’s

retainer agreement. The notary conducting the face-to-face sales presentation is instructed to

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contact a representative of WCS in the event the prospective client has questions that are not
directly addressed in those written materials.
8. Describe any steps a Person conducting a face-to-face meeting must take if they

are unable to answer a consumer’s question regarding the Debt Relief Services

that You offer, sell, or provide.
RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. If, during a face-to-face sales
presentation, a prospective client asks a question that requires an answer beyond the scope of the
face-to-face presentation script, training materials, or PowerPoint slides or that involves more than
a mere Scrivening issue with the retainer agreement, the notary conducting the face-to-face sales
presentation with that prospective client 1s required to contact WCS via telephone to obtain the
answer. Ifthe answer involves a non-legal matter, WCS will provide additional information to the
notary to allow them to respond to the prospective client; if the answer involves a legal matter, one
of Respondent’s attorneys will provide the answer.

9. Describe the services, if any, that Strategic Financial Solutions provides to You

or to consumers who enroll in the Debt Relief Services that You offer, sell, or

provide.
RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. Strategic Financial Solutions
does not provide any services to Respondent. However, Respondent does have a written
agreement with WCS (which is a wholly-owned subsidiary of Strategic Financial Solutions) under
which WCS provides (under the supervision of Respondent) certain administrative tasks associated
with gathering information from prospective clients during the client intake process, compiling

documents and information from clients during the course of representation by Respondent, and

handling routine client communications. WCS does not handle negotiations with creditors. WCS

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also does not respond to legal questions and inquiries by clients. Those are responded to by
Respondent’s attorneys.
10. Describe the services, if any, that K2 Financial Management, LLC provides to

You or to consumers who enroll in the Debt Relief Services that You offer, sell,
or provide.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. K2 Financial Management

provides accounting, bookkeeping and banking-related services tor Respondent.

11. Provide for Each state the number of consumers who enrolled in the Debt Relief
Services that You offer, sell, or provide.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. Respondent refers the Bureau to
Exhibit 2 hereto.

REQUEST FOR DOCUMENTS RESPONSES

1. Documents sufficient to show any policies and procedures governing face-to-
face sales presentations made to consumers in the offering or sale of the Debt
Relief Services that You offer, sell, or provide, including changes made to those
policies and procedures during the Applicable Period.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. Respondent directs the Bureau
to documents being produced with these responses.

2. Documents sufficient to show any policies and procedures relating to Your
compliance with federal consumer protection laws, including the
Telemarketing Sales Rules, 16 C.F.R. Part 310, and including changes made to
those policies and procedures during the Applicable Period.

RESPONSE: Respondent 1s a law firm. To the extent Respondent provides “debt relief services”

it does so in the context of providing legal services to its clients. Respondent directs the Bureau

to documents being produced with these responses.

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3. Documents sufficient to show training provided to any Person who conducts
face-to-face sales presentations with consumers in the offering or sale of the
Debt Relief Services that You offer, sell, or provide, including changes made
to training materials during the Application Period.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. Respondent directs the Burcau

to documents being produced with these responses.

4. Documents sufficient to show all scripts, job-aids, or presentation aides related
to face-to-face sales presentations with consumers in the offering or sale of the
Debt Relief Services that You offer, sell, or provide, changes made to those
materials during the Applicable Period.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. Respondent directs the Bureau
to documents being produced with these responses.

5. Documents sufficient to show any agreements or contracts between You and
Persons who conduct face-to-face sales presentations with consumers in the
offering or sale of the Debt Relief Services that You offer, sell, or provide,
including changes made to those policies and procedures during the Applicable
Period.

RESPONSE: Respondent is a law firm. To the extent Respondent provides “debt relief services”
it does so in the context of providing legal services to its clients. Respondent directs the Bureau

to documents being produced with these responses.

Dated: May 26, 2020 /s/ Timothy D. Elliott
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